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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

UNITED STATES OF AMERICA               )
                                       )       No. 19 CR 277
v.                                     )
                                       )       Judge Edmond E. Chang
CONCEPCION MALINEK                     )

             GOVERNMENT’S SENTENCING MEMORANDUM

       Concepcion Malinek spent nearly 10 years exploiting a segment of

society’s most vulnerable population for her personal profit. Malinek dangled

the vision of the American Dream in front of desperate people and, once she

had them trapped in her web, instead revealed an American Nightmare to

them. There were no white picket fences or endless shopping sprees in

Malinek’s America. Instead the victims were packed like sardines into

Malinek’s basement, and together they fought off the roaches, lice, mold, and

desperation of their new life.

       Malinek knew once these people were in her basement she would be able

to maintain control of them. Malinek marched most of her victims to a local

factory where they would work 40-hour weeks just to turn their paychecks over

to Malinek come payday. To keep her victims silenced, Malinek threatened

them with deportation and the loss of their children if they ever told anyone

about their debt to her or their living arrangements inside her home.

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        For her 10 years of trafficking and exploiting the many children, women

and men who fell into her trap, the government requests this Court sentence

Malinek to a within-Guidelines term of 97 months’ imprisonment, along with

a restitution payment to her victims totaling $112,545. 1 This sentence will not

only protect the public from a dangerous woman who targets and exploits some

of the most vulnerable, but will also send the message that the consequences

of trafficking human beings are real, swift, and significant.

I.      MALINEK SHOULD RECEIVE A SENTENCE OF 97 MONTHS’

        Concepcion Malinek did not make a one-time bad decision. She devised

and executed a long-term, cruel, and criminal plan to trap and exploit human

beings. Malinek knew from personal experience the terrible conditions her

victims lived in and anticipated their blind willingness to take any chance for

a better life for their families. Seizing on this known sense of helplessness

among her targets, Malinek dangled false promises and prices in front of her

victims in order to get them to take those first steps out of Guatemala and

enroute to her basement. Once here, Malinek knew she could subject these

victims to nearly any type of abuse and exploitation she desired with limited

objections. Malinek knew her victims were scared of deportation and

separation from their loved ones far more than they dreaded the abuse and


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  The Government and Probation anticipate the Guidelines Range for this offense to be 78-97 months’
imprisonment.
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exploitive actions she imposed on them. Malinek controlled her victims’ every

move, knowing their whereabouts at all times, the exact amount of each

paycheck she stole from them, and what levers to push and pull to keep them

all in line. Malinek used her control over the victims to conceal her activities.

She had a callous disregard for their well-being. A two-year-old child of one of

the individuals being trafficked was seriously injured while living in her house;

she purposely denied that child medical attention so her scheme would not be

detected, and threatened the parents with deportation if they tried to seek

medical assistance for their child themselves. A 97-month sentence is sufficient

but not greater than necessary to accomplish the sentencing goals detailed

below.

      A. Seriousness of the Offense

      This case epitomizes why labor trafficking is such a serious and

exploitive offense. Traffickers, like Malinek, target victims who are powerless.

Victims who are too afraid to speak up and reach out to anyone for help from

a terrible situation. Malinek used her victims’ terrible life circumstances in

Guatemala against them on two fronts. First, as a way to convince them they

should leave Guatemala and come to the United States for a better life. Then,

once here and under her direct control, as a way to maintain their silence about

her exploitive criminal conduct. Threatening each victim that if they ever

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breathed a word about her own criminal conduct in exploiting these victims,

she would have them deported and separated from their children and loved

ones.

        Malinek’s scheme was both simple and effective. Malinek used her

connections in her hometown in Guatemala to select some of the most

susceptible victims: those she knew were desperate enough to risk everything

and leave their home for a chance at a better life in the United States. Malinek

would initially quote a small fee to her victims, typically around $5,000 for her

services, and sold her victims the dream of a future in America much better

than their present. Once Malinek’s victims agreed to come to the United

States, Malinek assisted in their illegal smuggling across the border and

eventually to her residence in Cicero, Illinois.

        Once Malinek had her victims inside her residence, she would inform the

victim of their “debt,” which was substantially higher than the original quoted

amount and now ranged anywhere from $18,000-$42,000. While her victims

were still dazed by the new “debt” owed, Malinek obtained fraudulent social

security and legal permanent resident cards for the victims, so Malinek could

have them marched off to a local factory where they would work 40 hours a

week, in frigid conditions to earn money to pay off their “debt” to Malinek.

Malinek drove her victims to work every day and picked them up at the end of

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the shift, and charged the victims for transportation, adding it to their debt.

On payday, Malinek required that the victims give her almost the entirety of

their checks. At times, Malinek even had the entire paycheck endorsed over to

her.

       When they were not working, all of the victims resided in Malinek’s

residence, most crammed into bunkbeds in the basement. On the day of

Malinek’s arrest, there were 33 individuals living in Malinek’s single family

home in Cicero, 22 of whom resided in the basement. All 22 individuals shared

a single bathroom in the basement. Agents observed the walls all covered with

mold and the victims reported cockroaches and other squalid conditions during

their time residing in Malinek’s basement. Malinek charged each victims

hundreds of dollars a month, which she added to their debt, as “rent” to live in

these poor conditions.

       Malinek constantly threatened her victims telling them that they were

to never tell anyone about the debt they owed her or that they lived in her

residence, and that if they ever mentioned either of these things she would

have them deported and she would keep their children. Malinek’s threats

worked, keeping this vulnerable section of society quiet because they were too

afraid to contact law enforcement despite Malinek’s abuse and exploitation.

One of Malinek’s victims, Victim 4, reported that Malinek told her and the

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other victims that if they ever told anyone about what was happening in the

house they would be deported “because they were poor and she was rich

and would not lose.”

      One of Malinek’s victims, Victim 1, was just 15 years old when she

arrived at Malinek’s residence. Malinek knew Victim 1 was only 15 and instead

of sending Victim 1 to school, where she belonged, Malinek obtained fake

identity documents for Victim 1 so Victim 1 could spend 40 hours a week in a

cold sandwich factory in order for Malinek to take her paychecks. Victim 1

described her experience with Malinek in part as follows:

      Malinek was verbally abusive to me and the others in the house.
      Malinek would tell the adults that if anyone told anyone about what was
      happening in the house or their debt payments to Malinek that she
      would have them deported back to Guatemala and Malinek would keep
      their kids here with her. Malinek would tell the adults the kids loved
      her more than them. Malinek also threatened my dad that she would
      tell immigration officials that he sexually abused me, which was not
      true, if he talked about what was happening in the house. I was scared
      of Malinek. Malinek gets very angry at times and I was not sure what
      she would do to us when she was angry. One time I watched her hit my
      5 year old cousin with a belt and he started crying. I also heard Malinek
      threaten Malinek’s brothers who were from Guatemala that she would
      call immigration officials and have them deported. When I would call my
      mom on the phone, Malinek would send Malinek’s nephew to listen to
      what I was saying. (GV, at 4).

      Victim 1 was not Malinek’s youngest victim. Malinek’s youngest victim

was the 2-year-old son of Victims 8 and 9. As with the other victims, Victims 8

and 9 were told by Malinek that they owed her an exorbitant debt which they

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would likely never be able to pay off. Both Victims 8 and 9 worked full time at

the sandwich factory in an attempt to pay off the debt and escape Malinek’s

wrath. While Victims 8 and 9 worked, they were required to pay Malinek’s

parents to watch over their 2-year-old son. The price of this child care was set

by Malinek, and the cost was added to Victims 8 and 9’s debt.

       One day, while at the factory, Victim 9 received a call that there had

been an accident involving her son. Victim 9 rushed home and found her son

in extreme pain with severe burns covering his entire scalp. According to

Malinek, the 2-year-old child pulled a mug of hot tea off a counter and it scalded

his head. Victims 8 and 9 pleaded with Malinek to let them bring their son to

the hospital. Malinek refused, threatening Victims 8 and 9 with deportation if

they attempted to seek medical help for their son. Malinek sought no help for

the child, instead providing Victims 8 and 9 with tomato sauce to apply to their

son’s wounds. For days, Victims 8 and 9 had to watch their son suffer through

this extreme pain without any medical treatment. 2

       Victim 10 was trafficked by Malinek for over 6 years, held inside

Malinek’s home, and forced to work for Malinek and turn over her pay to




2 As described below, it is incidents such as this that truly exemplify the seriousness of labor
trafficking. It is a crime where there is such a power imbalance between the trafficker and their
victims that the trafficker is even able to control and silence parents who have to watch a two-year
old child suffer in pain and anguish when they know a doctor could provide instant relief to their
ailing child.
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Malinek as payment for Malinek’s made-up debt. When Victim 10 asked

Malinek why her debt increased so much from the original amount Malinek

quoted her, Malinek told her it was interest charged by the bank that caused

the increase. When Victim 10 asked to speak to someone at the bank, Malinek

told Victim 10 that she was not “smart enough” to talk to someone at the bank

and that if she did not pay her debt off she would be deported. Victim 10 paid

Malinek a total of $25,000 before Malinek agreed to let her leave Malinek’s

residence.

      B.     Protect The Public and Provide Adequate Deterrence

      Malinek’s conduct here demonstrates just how dangerous traffickers are

and how difficult they are to catch. Traffickers like Malinek know how to

harness the power of a dream and use it to create a nightmare for her victims.

The fact that there were over 20 victims inside her home at the time of the FBI

raid, none of whom had the ability or courage to speak up despite their constant

exploitation and abuse, demonstrates just how dangerous traffickers such as

Malinek are to the public, and especially its most vulnerable members. For

over 10 years Malinek was able to control and exploit her victims without

detection. At least for the next 97 months, the public should be free from her

exploitive tactics.

      More so than just protecting the public from Malinek, the deterrent effect

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that this Court’s sentence will have on the community is one of the primary

driving forces of the government’s sentencing recommendation. Labor

trafficking cases are difficult to detect and prosecute, which makes the

deterrent value of the sentences imposed in the cases that are brought so

critical. If there is hope of deterring labor trafficking, the sentences in cases

that result in a guilty finding must be significant. Traffickers operating today

should receive the message that if you engage in the labor trafficking of

children, women, or men in the Chicagoland area, the sentence will be severe.

      C.    History and Characteristics of the Defendant

      Malinek’s background appears similar to many of the victims she

exploited in this offense. Malinek herself left her country of Guatemala looking

for a better life. Malinek’s use of that same dream that she followed to exploit

her fellow community members makes her crime even more reprehensible.

Malinek fully understood the value her established roots here in the United

States had to a poor immigrant coming to a foreign land. Malinek utilized her

own personal history not to make things easier for her brothers and sisters

from Guatemala but instead as another means of control and exploitation.

      The government also notes Malinek claims no income from 2015 through

2019 and her statement that she “was supported by her husband during this

time period.” This is incorrect. Malinek fails to account for the profits she made

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from the trafficking of all the victims listed in the indictment along with the

thousands of dollars she forced them to pay her.

         D.    Supervised Release

         The government recommends the imposition of a term of supervised

release of three years. In order to promote the sentencing objectives of

deterring recidivism, protecting the public, and assisting in defendant’s

rehabilitation and reintegration into society, the government supports

Probation’s recommendation that the term of supervised release include the

conditions set forth in the PSR.

         E.    Restitution

         The government previously submitted a restitution request in the

amount of $112,545. The breakdown for this request has been provided to the

Probation Officer and includes the cost of counseling for many of these victims

to process and overcome the mental abuse inflicted upon them by Malinek. As

noted in the Malinek’s plea declaration, Malinek has agreed to pay restitution

for all 10 victims identified in the indictment.

II.      CONCLUSION

         For the reasons stated above, the government respectfully requests that

this Court impose a sentence of 97 months’ imprisonment.                A 97-month

sentence sends the message to the victims, the community, and most


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importantly, other labor traffickers in our community that labor trafficking

will not be tolerated, no matter what. A 97-month sentence also is long enough

to send Malinek the message that this crime must be taken seriously.



                                            Respectfully,

                                            JOHN R. LAUSCH, JR
                                            United States Attorney

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